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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION


JACQUELINE WEATHERLY,                        )
CYNTHIA WILLIAMS, and LYDIA                  )
BURKHALTER,                                  )
                                             )
                      Plaintiffs,            )
                                             )
v.                                           )             Civil Action No. 2:10CV192-WHA
                                             )
ALABAMA STATE UNIVERSITY,                    )                    (wo)
                                             )
                                             )
                      Defendant.             )

                                         JUDGMENT


       In accordance with the Memorandum Opinion and Order the court entered this day

assessing attorneys’ fees and expenses against the Defendant,

       Judgment is entered against Alabama State University and in favor of the claimants in the

amount of $1,123,034.40, for which execution may issue.



Done this 21st day of November, 2013.



                                            /s/ W. Harold Albritton
                                            W. HAROLD ALBRITTON
                                            SENIOR UNITED STATES DISTRICT JUDGE
